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                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Roberto Baster                                                                               Case No.
                                                                                 Debtor(s)               Chapter      13


                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                             $                  5,600.00
             Prior to the filing of this statement I have received                                   $                  3,500.00
             Balance Due                                                                             $                  2,100.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       b. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       c. [Other provisions as needed]
          Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
          reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
          522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
         Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any
         other adversary proceeding.

           Any deposition, Motion or petition to the court, including but not limited to motions to reinstate the case, reaffirmation
           agreement, eliminating the property tax, to reopen the case in court or audit, Evidentiary Hearings, Amendments /
           Motions, Amendments to Schedule D, E, or F, Creditor's Notice of change of address, Adversaries, defense of motions
           or other contested matters, Judicial Lien avoidance or removal, Relief from Stay actions, Dischargebility actions of the
           case require requires and additional cost starting at $250-$1,500, plus court costs.
           Does not include representing the Debtor(s) if the case is audited.
           Does not include representing the Debtor(s) if the Debtor(s) does not meet the Means Test.
           Does not represent the Debtor(s) in any IRS and/or Tax issues




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 In re    Roberto Baster                                                                             Case No.
                                                           Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)

 I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida and I am in compliance with the
 additional qualifications to practice in this court set forth in Local Rule 2090-1(A).

 Respectfully submitted,

 February 10, 2016                                                         /s/ Michael Marcer
 Dated                                                                     Attorney for Debtor(s):
                                                                           Michael Marcer 88728
                                                                           Marrero, Chamizo, Marcer Law, LP
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